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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                              Case No. 01-cr-40047-01-JPG

 LARRY ANTHONY NESBY,

                Defendant.

                               MEMORANDUM AND ORDER

        This matter comes before the Court on defendant Larry Anthony Nesby’s pro se motion

for a reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States

Sentencing Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 194). The Court appointed counsel

for Nesby, and counsel has moved to withdraw on the basis that she can make no non-frivolous

arguments in support of the defendant’s request (Doc. 207). See Anders v. California, 386 U.S.

738, 744 (1967). The government has responded to the motions (Doc. 213), as has Nesby (Doc.

221).

        Nesby was convicted by a jury of two counts of conspiracy to possess with intent to

distribute crack cocaine. At sentencing, the Court found that Nesby’s base offense level under

United States Sentencing Guideline Manual (“U.S.S.G.”) § 2D1.1 was 42 and his criminal

history category was VI, yielding a guideline sentencing range of 360 months to life in prison.

However, because the government had filed an enhancement pursuant to 21 U.S.C. § 851, setting

forth three prior felony drug convictions, Nesby’s statutory minimum sentence was life

imprisonment. See 21 U.S.C. § 841(b)(1)(A). Consequently, pursuant to U.S.S.G. § 5G1.1(b),

his guideline sentence became life imprisonment. The Court sentenced Nesby to the statutory

minimum sentence of life imprisonment. Nesby now asks the Court to apply recent changes to
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U.S.S.G. § 2D1.1 to lower his sentence.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

must ensure that any reduction “is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence

reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied sub nom McKnight v. United States, 129 S.Ct.

1924 (2009).

       Nesby cannot satisfy the first criterion because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

levels associated with various amounts of crack cocaine. The Sentencing Commission amended

U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. The amendments did not, however, reduce the sentencing

range of defendants whose minimum guideline sentence was determined under U.S.S.G. §


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5G1.1(b) based on a statutory minimum rather than under U.S.S.G. § 2D1.1 based on relevant

conduct amounts. See Forman, 553 F.3d at 588 (“Nothing in § 3582(c)(2) permits a court to

reduce a sentence below the mandatory minimum.”). Because Nesby was sentenced based on

his statutory minimum sentence in accordance with U.S.S.G. § 5G1.1(b), not his base offense

level set forth in U.S.S.G. § 2D1.1, under the old and amended guidelines, his guideline sentence

would have been life imprisonment. Thus, the amendments did not lower his guideline range,

and he cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a sentence

reduction.

       Because Nesby cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

obtaining a sentence reduction, the Court does not have subject matter jurisdiction to consider

his reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court

therefore GRANTS counsel’s motion to withdraw (Doc. 207) and DISMISSES Nesby’s motion

for a sentence reduction (Doc. 194) for lack of jurisdiction. The Clerk is DIRECTED to mail a

copy of this order to Defendant Larry Anthony Nesby, #05328-025, USP Terre Haute, P.O. Box

33, Terre Haute, IN 47808.



IT IS SO ORDERED.
Dated: July 16, 2009.

                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             U.S. DISTRICT JUDGE




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